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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Misc. NO: 13 Misc. 00099

The Application 0f Barthélémy Samuel Jean Dessaint

for an Order Pursuant to 28 U.S.C. § 1782

Compelling the Production 0f

Documents and Testimony by

Christie’s, Inc. :
____________________ ____ X

 

MEMORANDUM OF LAW IN OPPOSITION TO JEAN-CHARLES
LIGNEL’S MOTION FOR SANCTIONS

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Applicant Barthéle'my Samuel Jean Dessaint (“Dessaint”), through his counsel, Schindler
Cohen & Hochman LLP (“SCH”), hereby submits this memorandum of law in opposition to the
motion of Jean-Charles Lignel (“Lignel”) for sanctions against Dessaint and SCH (the
“Sanctions l\/Iotion”).

INTRODUCTION

Lignel and Dessaint, as heirs to an important estate in France comprised mainly of a
collection of French Impressionist paintings (the “Delaroche Collection”), are currently litigating
the Winding-up of that estate in France (the “French Estate Litigation”). Lignel’s Sanctions
Motion comes on the heels of the Court’s rejection of Lignel’s December 31, 2013 motion to
vacate (the “Motion to Vacate”) this Court’s March 26, 2013 order (the “March 26 Order,”
Docket N0. 4) permitting Dessaint to subpoena documents from Christie’s, lnc. (the “Christie’s
Documents”) pursuant to 28 U.S.C. § 1782, filed nine months after production of the Christie’s
Documents in France. By order dated January 17, 2014 (the “Jan. 17 Order,” Docket No. 18),
Judge Richard J. Sullivan rejected Lignel’s Motion to Vacate as seeking “a meaningless vacatur
of the March 26 Order - Which has already been complied With - that functions solely as a signal
of this Court’s legal opinion [to the court in France] as to Whether the Order Was appropriately
granted . . . .” (Jan. 17 Order at 8.)

Lignel now brings this Sanctions Motion in a transparent effort to deliver to the French
court something that he can use to undercut the evidence of his multi-million dollar fraud on the
estate, Which is unequivocally proven by the Christie’s Documents (“recel Successoml”). But,
the Sanctions Motion is a highly misleading and baseless attack aimed at Wasting the resources
of Dessaint, SCH and this Court. lndeed, the sheer absurdity of this motion demonstrates

Lignel’s ignorance of the rule that the making of a frivolous sanctions motion “can itself result in

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sanctions against the movant.” See, e.g,, Koar v, U.S., No. 96 CIV. 5166 KMW, 1997 WL
1038181, at *2 n.2 (S.D.N.Y. Sept, 2, 1997); Boyer v. Uniz‘ea’ Methodist Church, N0. 90-CV-13,
1990 WL 73422, at *1 (N.D.N.Y. l\/lay 31, 1990) (sanctioning party for “patently frivolous” Rule
11 motion “designed to harass” and to “waste the court’s time”). See also Carl),‘on Grp., Lm’. v.
Tobz'n, No. 02 CIV.5065 SAS, 2003 WL 21782650, at *8 (S.D.N.Y. July 31, 2003) (ifrequest for
Rule 11 sanctions was “destined to fail . . . . then pursuing sanctions itself constitutes a violation
of Rule 11”) (internal quotations and citations omitted).

Lignel’s faux righteous indignation is particularly disingenuous in light of the massive
fraud he appears to have committed in France. lndeed, upon reviewing the Christie’s
Documents, the Paris court overseeing the French Estate Litigation (the “Paris Court”) deemed it
necessary to seize certain of Lignel’s assets in France worth millions of euros. Seven months
later, and with an April 2, 2014 decision from the Paris Court of Appeal looming, Lignel’s only
strategy is apparently to bring this frivolous Sanctions Motion.

ln what is now his second motion to this Court concerning a subpoena served on
Christie’s nine months ago:

1. Lignel still has not presented any French law or an opinion of any French legal

expert supporting his U.S. counsel’s entirely erroneous, unsupported

interpretation of the Paris Court’s January 17, 2013 decision he falsely claims
Dessaint acted to circumvent.

2. Lignel still does not dispute that the Christie’s Documents demonstrate to the
French courts that Lignel committed fraud on the estate. lndeed, the Christie’s
Documents prove Lignel’s involvement in a 2006 auction at Christie’s in which eight
works of estate art sold for $18,358,000, many millions more than the €3,000,000
Lignel received for those works when he purportedly “sold” 23 paintings from the
Delaroche Collection to a British Virgin Islands company, secretly owned by Lignel,
a few months prior.

Further, the Sanctions Motion is misleading because, just as was the case in Lignel’s

meritless l\/Iotion to Vacate, this motion is premised on a false narrative. In reality, Dessaint’s

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application pursuant to 28 U.S.C. § 1782 (the “1782 Application”) was not ex parte and did not
mislead the Court or omit any relevant orders from the Paris Court. Rather, Dessaint’s
1782 Application was filed with, and noticed to, Christie’s - the object of the subpoena Further,
all of the relevant French court decisions were translated and filed with the 1782 Application for
the Court to evaluate.

Lignel bears a heavy burden in bringing his Sanctions l\/lotion, and his categorical failure
to meet this burden belies any good faith. lndeed, the reasons to deny his motion are numerous

First, contrary to Lignel’s assertions, the plain language of 28 U.S.C. § 1782 does not
require notice to participants in the foreign litigation in advance of issuance of a subpoena
pursuant to the statute. At best, the statute, is, in the words of Judge Sullivan, “ambiguous.”
(Transcript of January 10, 2014 Hearing (“Jan. 10 Tr.”) at 28:13.)1 And Dessaint and SCH’s
reasonable interpretation of the statute bars the imposition of sanctions See Collz`ton v. Morgan,
N0. 07 CIV. 8269 (LTS) (THK), 2009 WL 874043, at *1 (S.D.N.Y. l\/lar. 31, 2009) (“Sanctions
under Rule 11 are inappropriate when there are different interpretations of the law or when
contrary controlling authority is not obvious.”) (intemal quotations omitted).

Second, Lignel’s accusations of misconduct are premised on a deeply flawed and
misinformed analysis of one order issued by a subsidiary Parisian court of limited jurisdiction
Contrary to Ligncl’s unfounded accusations, this order did not concern, or in any manner affect,
Dessaint’s efforts to obtain documents from Christie’s in the United States by means of 28
U.S.C. § 1782. lndeed, Lignel remains unable to cite to any French law or French legal opinion
to justify his argument; instead, he relies solely on a declaration of his `New York attomey, who

misinterprets French legal authority.

 

l A copy of the January 10 Transcript is attached to the Declaration of John R. Cahill, dated February 4,

2014 (“Cahill Decl.”), Docket N0. 26, as Ex. 2.

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Third, the Sanctions l\/lotion is a thinly-veiled attempt to seek reargument or
reconsideration of Lignel’s l\/lotion to Vacate under Local Rule 6.3. The two motions seek
nearly identical relief for nearly identical purposes, but Lignel fails to satisfy the prerequisites for
relief under Local Rule 6.3. Further, the Sanctions l\/lotion is barred by the 14-day time
limitation imposed by Local Rule 6.3 and by the recent appeal Lignel has taken of the l\/lotion to
Vacate.

Fourth, Lignel has no standing to seek sanctions in this proceeding and has not moved,
and cannot move, to intervene to do so.

Fifth, Lignel was not harmed by Dessaint’s conduct, as, contrary to his assertions, Lignel
could not have quashed the subpoena issued to Christie’s.

For all these reasons and the reasons set forth in detail below, this Court should deny
Lignel’s Sanctions l\/Iotion and give careful consideration to whether this motion was filed in
good faith. See, e.g., Nakash v. U.S. Dep’t o_/Justice, 708 F. Supp. 1354, 1366 (S.D.N.Y. 1988)
(“the court finds that by bringing a Rule 11 motion plaintiffs have contravened the very
standards that they have accused the [defendant] of violating”).

FACTUAL BACKGROUND
The French Estate Litigation

Dessaint is a U.S. citizen and a party in an ongoing litigation in the Paris Court, originally
brought by his father, Fabrice Dessaint, and his uncle, Jean~Francois Dessaint, against Lignel,
regarding the estate of Louise Delaroche (z'.e., the French Estate Litigation). After his father’s
death, Dessaint and his two siblings (Edouard Louis J can Dessaint and Clara Pauline Catharina
Dessaint) continued the French Estate Litigation against Lignel, who is their father’s uncle.

(Declaration of Guillaume Buge, dated l\/iarch 19, 2013 (“2013 Buge Decl.”), Docket N0. 8-8, 11

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3; Declaration of Guillaume Buge, dated January 7, 2014 (“2014 Buge Decl.”), Docket No. 8-7,
jj 10.)

Before her death in 1998 in Paris, Louise Delaroche bequeathed the Delaroche Collection
to her son, Lignel. (2013 Buge Decl. 1[ 4.) However, on September 21, 2000, that legacy was
determined by the Paris Court to be a “legs rapportable” (a returnable legacy), such that Lignel
must bring the fair market value of the Delaroche Collection back into the estate for the purpose
of winding down the estate and dividing it among the heirs, including but not limited to Dessaint
(the “Estate”) (]d.; 2014 Buge Decl. 1[ 9).

The Disputed Valuation Of The Delaroche Collection

ln the context of the French Estate Litigation, Lignel claims that, in 2005, he sold the 23
most beautiful paintings of the Delaroche Collection to Hasegawa Investments Ltd.
(“Hasegawa”), a company located in the British Virgin lslands, for three million euros (z’.e.,
€3,000,000). (2013 Buge Decl. 11 5.) Lignel urged the Paris Court to use that sales price as the
purported basis of a valuation of the 23 paintings. (Ia'.) However, on November 8, 2006, just 8
of those 23 paintings (z`,e., those paintings allegedly sold by Lignel to Hasegawa for €3,000,000 a
few months prior) were sold for $18,358,000, at an auction at Christie’s in New York, at which
the works’ provenance was identified as “Property from a Private European Collection” and
previously “Lcon Delaroche Collection” (the “Eight Paintings”) (]d. ‘[[ 6.)

Prior Efforts To Obtain Information Regarding The Value Of The Eight Paintings

On December 15, 2011, the Paris Court reached a decision according to which, inter alia,
two art appraisers (the “Expert Appraisers”) were designated to appraise the fair market value of
the Delaroche Collection, both at the time of Louise Delaroche’s death and at fair market value

today (the “December 2011 Order”). (2013 Buge Decl. 11 12; 2014 Buge Decl, 1111 11-13.)

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Because Lignel claims that he sold 23 paintings of the Delaroche Collection in 2005, the Expert
Appraisers are also charged with determining whether the value at which Lignel claims that he
sold these\paintings (i.e., €3,000,000) was a fair market value.2 (2013 Buge Decl. 11 12; 2014
Buge Decl.11 13.)

The December 2011 Order also required Lignel to pay €10,000 for the Expert Appraisers’
fees, but because he refused to do so for more than a year, Dessaint had to ask the judge
supervising the appraisal proceeding within the Paris Court,3 the Juge charge du conti/die des
expertises (the “Juge de Z’expertz'se”), to issue an order to compel Lignel to pay for the Expeit
Appraisers to begin their appraisal work. (2013 Buge Decl. 11 13; 2014 Buge Decl. 11 14.) The
motion to compel Lignel to pay those fees was the subject of the January 17, 2013 Paris Court
decision by the Juge de l’expertise (the “2013 Expert Decision”), a complete copy and a certified
translation of which Was attached as Exhibit E to the 2013 Buge Declaration, which was filed
with Dessaint’s 1782 Application. The 2013 Expert Decision also provides, inter alia, that the
Expert Appraisers are authorized to reach out to Christie’s for any information relating to the
sale that took place on November 8, 2006, including but not limited to, the identity of the seller
ofthe Eight Paintings. (2013 Buge Decl. 11 14.)

Along with Dessaint’s request for the Juge de l’expertise to compel Lignel to pay the
Expert Appraisers the €10,000 that Lignel had been ordered to pay a year earlier, Dessaint also

requested that he, in essence, be deputized to seek the third-party documents directly from

Christie’s and Christie’s France. (2014 Buge Decl, 11 25.) However, the 2013 Expert Decision

 

2 Specifically, “whether Jean-Charles Lignel can show cause for selling 23 paintings for the price of

3,000,000 euros, and, if this price seems reasonable, said paintings would then have to be valued at their sales price
pursuant to the provisions of Article 860 of the Civil Code.” (2013 Buge Decl., Ex. E at 19).

3 The appraisal proceeding is being conducted as an ancillary part of the French Estate Litigation. (See 2014
Buge Decl. 111124~25.)

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had nothing to do with - and did not in any manner prohibit - Dessaint from obtaining the
documents himself through the U.S. courts in an unofficial capacity. (Id. 1111 19, 25.) Rather, the
Juge de Z’expertise determined that, because his powers were limited to the determination of the
Expert Appraisers’ mission, he could instruct the art appraisal experts to ask Christie’s for
information but had no jurisdiction to authorize or deputize Dessaint to do so. (]a’. 11 28.) The
Juge de l expertise could not go further and certainly did not have jurisdiction to bar Dessaint
from pursuing discovery in his own capacity in the United States pursuant to U.S. law. (Id.)
Dessaint’s 1782 Application

l\/lore than two months after the 2013 Expert Decision (and 14 months after the December
2011 Order), the Expert Appraisers still had not contacted Christie’s, Hasegawa and/or any other
entity or individual in connection with the Delaroche Collection about the Eight Paintings. (Id. 11
42.) Furthermore, in part because Lignel was responsible for paying the Expert Appraisers’ fees
by order of the Paris Court, Dessaint considered the Expert Appraisers highly unlikely to assume
the burden and incur the expense of retaining U.S. counsel to make an application to obtain any
information from Christie’s. 4 (Ia’. 11 43; 2013 Buge Decl. 11 15.)

Because Dessaint had reason to believe that the seller at the Christie’s auction was
actually (directly or indirectly) Lignel, Dessaint asked Christie’s for the identity of the seller, and
any information likely to show who received the proceeds from the sales of the Eight Paintings.
However, Christie’s refused to provide any further information without a subpoena (2013 Buge
Decl. 11 9.)

Therefore, in light of an April 22, 2013 deadline in the next phase of the merits litigation

(i.e., when Dessaint’s opposition to Lignel’s appeal of the December 2011 Order was due), and

 

4 And Dessaint’s concerns were well-founded: the Expert Appraisers did not even jim request materials

from Christie’s until December 24, 2013. (Lignel Memorandum of Law in Support of the Sanctions l\/lotion
(“Lignel Br.”), Docket No. 257 at 4; Cahill Decl., Ex. 1; 2014 Buge Decl. 1111 19, 42).

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because Dessaint bears the burden of proof on the fraud claim in the French Estate Litigation,
Dessaint retained U.S. counsel in order to obtain the documents and testimony from Christie’s in
l\/larch 2013. (]cl. 1111 16-17; 2014 Buge Decl. 1111 18, 32-36.) Dessaint’s 1782 Application was
granted by Judge Kiinba l\/I. Wood on l\/Iarch 21, 2013 by order to show cause which, inter alia,
ordered Dessaint to serve the 1782 Application on Christie’s by hand by no later than l\/larch 26,
2013 (the “OTSC”). (The OTSC is attached as Exhibit A to the Declaration of Mattliew A. Katz,
dated January 7, 2014, Docket N0. 8; a complete copy of the 1782 Application, with exhibits, is
attached thereto as Exhibit C.)

ln support of the 1782 Application, Dessaint attached a declaration from his French
attorney handling the French Estate Litigation, Guillaume Buge, which fully and accurately
described the French proceedings (2013 Buge Decl. 1111 3-17.) The 2013 Buge Declaration
included a full, official translation of the 2013 Expert Decision and relevant excerpts from the
December 2011 Crder. Thus, Dessaint’s 1782 Application made clear that he was seeking
documents for use in the French Estate Litigation against Lignel for the purposes of
demonstrating Lignel’s fraud on the Estate.

Thereafter, Christie’s reached an agreement to produce certain of its documents pursuant
to a subpoena, provided that Dessaint refrain from issuing any subpoenas ad testij?cana’um to its
employees The Court “so ordered” the substance of this agreement on l\/larch 26, 2013, which
did not include any language requiring that notice be provided to Lignel, and which expressly
permitted production of documents to commence within four days’ time. (l\/iarch 26 Order at 2.)
Documents Produced BV Christie’s Confirm That Lignel Committed Fraud

The Christie’s Docuinents demonstrate unequivocally that Lignel owns Hasegawa.

Lignel is described as the “owner” of Hasegawa; the address for Hasegawa, registered as

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“Hasegawa lnvestments Jean-Charles Lignel Private Collections,” is located in one of Lignel’s
New York addresses; Christie’s, while organizing the auction on behalf of Hasegawa, actually
corresponded with Lignel to obtain his agreement on the auction prices; and, finally, Lignel told
Christie’s into which bank account the sales proceeds were to be transferred (See 2014 Buge
Decl, 11 21 and Ex. C at 000009-000011, 000014, CHR000010, & CHR000110.)

Dessaint submitted these documents to the Paris Court and Lignel in the French Estate
Litigation as Exhibit 21 (Piece 21). (See 2014 Buge Decl., Ex. C). Dessaint has used the
Christie’s Documents to show that Lignel’s purported sale to Hasegawa of the Delaroche
Collection was a fraudulent attempt to avoid having the true value of those paintings be included
in the Estate. (Ia’. 1111 20, 22.) lndeed, a Juge de l ’Execution (an enforcement judge), having
examined the Christie’s Documents, issued an order on May 24, 2013, seizing certain of Lignel’s
assets in France in order to secure eventual payment of Dessaint’s claim in the French Estate
Litigation. (Ia’. 11 21 .) The court found that because Lignel had been organizing his French estate
to render him judgment proof, there was a danger that Lignel would be “unable” to pay the
amounts due to Dessaint at the end of the winding-up of the Delaroche Estate. The Juge de
Z’Execution said the following of the Christie’s Documents:

according to the discovery proceeding initiated by Barthelemy
Dessaint, Clara Dessaint and Edouard Dessaint on April 8th 2013,
it has been demonstrated that the company Hasegawa
Investment is mentioned in Christie’s registries as seller under
the name “Hasegawa Investment Jean-Charles Lignel Private
Collection.” Jean-Charles Lignel is also mentioned as owner of
this company. Besides, it is proved that Jean-Charles Lignel does
not own assets on his own but only through various companies He
also does not have any bank account in France. Finally, the fact
that two of the paintings allegedly sold to Hasegawa Investment
in 2005 were found in his house during the seizure operations
confirms that there is a danger that [Dessaint’s1 claim will not to

be paid and that paintings will remain in [Lignel’s] house. The
danger of non-payment is not limited to an objective situation of

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insolvency but also to the subjective behavior of the debtor. lt is

therefore justified that all the seized assets be duly registered and

stored in an appropriate art storage facility. The foregoing

developments show indisputably that Jcan~Charles Lignel has

not acted, until now, with the elementary transparency that

should exist Within a family.
(2014 Buge Decl. 11 21 and Ex. B (Order, dated l\/lay 24, 2013, from the .]uge de l ’Exe'cutz'on)
(emphasis added).)

Lignel subsequently endeavored to suppress the evidence of his fraud, bringing an
unsuccessful motion before a pre~trial court in France to have this evidence excluded (2014
Buge Decl. 11 40 and Ex. E (Order, dated October 1, 2013, from the Consei'ller de la mise en
e'tat).) Although the Conseiller a’e la mise en e'tat determined that it did not have jurisdiction to
rule on the admissibility of the Christie’s Documents, it did find that all of the Christie’s

Docuinents received by Dessaint had been produced to the Paris Court. (2014 Buge Decl. 11 40.)

Lignel Filed His Motion To Vacate Many Months After
Evidence Of His Fraud Was Utilized In The French Action

Nine months after Christie’s produced its documents, and nearly seven months after the
Juge de l ’Executz'on ordered a seizure of soine of Lignel’s assets, Lignel filed his Motion to
Vacate on December 31, 2013. (2014 Buge Decl. 11 41 ,) Dessaint believes that Lignel delayed
filing the Motion toVacate because the merits proceeding before the Paris Court of Appeal
closed on January 21 , 2014, and he hoped to use the l\/lotion to Vacate as a basis to delay the
conclusion of the French Estate Litigation. (Id.)

The other reason for Lignel’s Motion to Vacate was to obtain some sort of advisory
opinion from this Court that the Christie’s Documents were improperly obtained. lndeed, just
two weeks prior to filing his Motion to Vacate, Lignel filed with the Paris Court an “Opinion of

Cahill Paitners LLP Concerning Notice Requirement for Discovery Pursuant to 28 U.S.C. §

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1782,” dated December 12, 2013, in which his counsel opined that the 1782 Application was
“obtained in violation of United States law.” (See Jan. 10 Tr. at 4:8, 19:7.) As Judge Sullivan
explained in denying the l\/lotion to Vacate: “Lignel’s U.S. counsel has already made his own
representations to the French court about the propriety of Lignel’S § 1782 application (see
Opinion of Cahill Partners LLP Concerning Notice Requirement for Discovery Pursuant to 28
U.S.C. § 1782, dated Dec. 12, 2013, Doc. N0. 17-1[ 1), and . . . this Court’s ruling is sought
simply to bolster that argument.” (Jan. 17 Order at 5 n.6.) Thereafter, in response to an opinion
filed by Dessaint’s counsel, Lignel filed yet another opinion from his U.S. counsel, reiterating his
assertions that Dessaint’s 1782 Application was improper.

Lignel styled his December 31 motion as one “to vacate,” but he failed to include a single
reference to Fed. R. Civ. P. 60, which governs motions to vacate, and made no analysis thereof.5

The Court Denied The Motion to Vacate And Confirmed
That Section 1782 Does Not Explicitly Require Notice

On January 10, 2014, the parties appeared before Judge Sullivan for oral argument on
Lignel’s Motion to Vacate. At the hearing, Judge Sullivan noted that “[i]t didn’t seem to [him]
that the French court was saying that you can’t go get this other stuff” (Jan. 10 Tr. at 7:11-
12 (emphasis added)), and that he didn’t think that it was “fair” to state that the “French court’s
order with respect to the experts was an implicit limiting of evidence beyond that.” (Jan. 10 Tr.
at 8:2-4.) Judge Sullivan further noted that that March 26 Order “doesn’t say anything about
giving notice to l\/lr. Lignel.” (Jan. 10 Tr. at 16:15-20.) Critically, and contrary to Lignel’s
unsupported assertion that Section 1782 requires advance notice of a document subpoena, Judge

Sullivan explained that the statute is ambiguous:

 

5 To prevail on a motion to vacate, Lignel would have to provide clear and convincing evidence that Dessaint

committed fraud, misrepresentation or some other misconduct on the court. See Fed. R. Civ. P. 60(b)(3).

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The line [in the Statute] says to the extent that the order does not
prescribe otherwise, the testimony or statement shall be taken and
the document or other thing produced in accordance with the
Federal Rules of Civil Procedure. lt doesn’t say that the
subpoena shall be issued in accordance with federal rules. It is
a little more ambiguous than that. lt sounds like the thing to be
produced, whether it is a document or testimony, will be taken in
accordance with the Federal Rules of Civil Procedure.

(Jan. 10 Tr, at 28:9-16 (emphasis added).)

Seven days later, Judge Sullivan issued his decision, in which he described the Motion to
Vacate as seeking (i) “a meaningless vacatur of the March 26 Order - which has already been
complied with - that functions solely as a signal of this Court’s legal opinion as to whether the
Order was appropriately granted . . .” (Jan. 17 Order at 8), and (ii) to prevent “future parties”
from “abus[ing] the 28 U.S.C. § 1782 process . . . .” (Jan. 17 Order at 9) The Court rejected any
such relief, holding that the Motion to Vacate should be denied and that the Court “w[ould] not -
and may not - issue what would clearly be an advisory opinion so that Lignel may borrow the
imprimatur of the Court in his arguments before a French tribunal.” (Jan. 17 Order at 4.)6

ARGUMENT
LIGNEL HAS PROVIDED N 0 BASIS FOR SANCTIONS

I. An Award Of Sanctions Is An Extreme Remedy
Unavailable Without Demonstrable Bad Faith

Lignel purports to seek sanctions under the Couit’s “inherent power.” (Lignel Br. at 5.)
However, “the Supreme Court has cautioned that because of the very potency of a court’s
inherent power, it should be exercised with restraint and discretion.” Church ofSciemology Int'l
v. Time Warner, Inc., N0. 92 CIV. 3024 (PKL), 1994 WL 38677, at *3 (S.D.N.Y. Feb. 4, 1994)

(internal quotations omitted). Accordingly, the Court may not award sanctions absent a “finding

 

6 A decision on the merits of the French Estate Litigation will be rendered by the Paris Court of Appeal on

April 2, 2014.

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of bad faith, and a finding that conduct is without color or for an improper purpose, must be

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supported by a high degree of specificity in the factual findings Wollers Kluwer Fi`n. Servs.,
lnc. v. Sci'vantage, 564 F.3d 110, 114 (2d Cir. 2009); Oliveri v. Thompson, 803 F.2d 1265, 1273
(2d Cir. 1986) (same).

Bad faith is demonstrated by extraordinary costs, repeated frivolous filings, obstructive
delay tactics, inendacious allegations, and no real prosecution Walker v. sz`th, 277 F. Supp. 2d
297, 303 (S.D.N.Y. 2003). None of those factors are even remotely present here. Though Lignel
contrives two objections to the subpoena served on Christie’s ~ the first premised on the
argument that he should have received notice of the subpoena, and the second based on an
unfounded misinterpretation of the 2013 Expert Decision concerning the Expert Appraisers’
discovery - as described below, (i) Dessaint was not obligated to provide advanced notice to
Lignel of the subpoena on Christie’s, and (ii) Dessaint was not, in any way, barred from
seeking discovery from Christie’s and, in any event, disclosed the applicable order to this
Court. Accordingly, Lignel’s Sanctions Motion is entirely meritless At a minimum, Lignel has
failed to demonstrate the “exceptional” circumstances necessary to support sanctions, and his

motion must be rejected. Walker, 277 F. Supp. 2d at 303.

II. Dessaint Properly Noticed The 1782 Application To Christie’s,
And No Other Notice Was Required Under 28 U.S.C. § 1782

A. Dessaint’S 1782 Application Was Noticed to Christie’s And
Fully Disclosed The 2013 Expert Decision To The Court

While Lignel repeatedly refers to the 1782 Application as having been conducted ex
parte (see Lignel Br. at 3, 6, & 9), this is entirely inaccurate, because Dessaint served notice of
the 1782 Application on the affected party - Christie’s. Accordingly, Dessaint’s 1782

Application was by no means clandestine, and Christie’s had every opportunity to oppose the

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1782 Application and/or seek to quash or modify the subpoena issued in connection therewith
and/or confer with its client(s), Lignel and Hasegawa, about it. l\/Ioreover, the subpoena to
Christie’s, which was also filed with the Court prior to issuance, sought the files and records
belonging to Chrz`stz'e ’s. Here, the Court had an opportunity (i) to review the papers submitted
and (ii) to modify the OTSC and the proposed Grder, in order to, e.g., include a provision
requiring that Lignel and/or Hasegawa be notified of the 1782 Application prior to executing it
on March 26, 2013. The Court’s March 26 Order only directs that the subpoena be served on
Christie’s and that the production of documents commence four days later. (l\/Iarch 26 Order at
2.) Dessaint and SCH complied fully with the March 26 Order.

B. 28 U.S.C. § 1782 Does Not Require Notice Of Document Subpoenas

As Lignel himself acknowledges 28 U.S.C. § 1782 “does not specify the notice
required for the application and provides the courts with a degree of discretion . . . .”
(Lignel Br. at 6.) Notwithstanding this admission, Lignel contends that notice must have been
provided pursuant to Fed. R. Civ. P. 45, which is incorporated by reference in Section 1782.
(See Lignel Br. at 6-7.) But, Lignel’s argument is premised on a profound misreading of the
statute, a misreading not adopted by this Circuit or any other federal court. The statute only
provides that “[t]o the extent that the order does not prescribe otherwise, the testimony or
statement shall be taken, and the document or other thing produccd, in accordance with the
Federal Rules of Civil Procedure.” 28 U.S.C. §1782(a). On the plain face ofthe language, it is
clear that the Federal Rules of Civil Procedure apply to the production of documents in
connection with a subpoena under Section 1782, and not with respect to notice of such a

subpoena prior to production. lndeed, Judge Sullivan agreed that, at a minimum, the statute did

not provide clear direction as to notice, agreeing that the statute:

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doesn’t say that the subpoena shall be issued in accordance
with federal rules lt is a little more ambiguous than that. lt
sounds like the thing to be produced, whether it is a document or
testimony, will be taken in accordance with the Federal Rules of
Civil Procedure.

(Jan. 10 Tr. at 28:11-16 (emphasis added).) This interpretation is entirely consistent with the
caselaw cited by Lignel, which concerns the right to cross-examine witnesses and the court’s
discretion to require notice to effectuate this ri ght. See, e.g., In re Letter of Request from
Supreme Court ofHong Kong, 138 F.R.D. 27, 32 (S.D.N.Y. 1991) (concerning the use of
depositions in a criminal action in Hong Kong and explaining that “the denial of the right to
cross-examine is a substantial denial of the appropriate process”).7 Dessaint and SCH do not
dispute that federal courts have discretion under 28 U.S.C. § 1782 to require notice; but this
discretion does not mean that the statute imposes a notice requirement
This interpretation is also entirely consistent with a survey of 94 federal district and

territorial courts around the country, only one of which has a local rule on point. That rule,
from the United States District Court for the Northern District of lllinois, only requires that
notice to foreign adversaries be given in the event of a deposition pursuant to Section 1782 (the
“lllinois Rule”). See N.D. lll. Civ. R. 26.4:

Where an interested person requests to take the testimony or

statement of any person pursuant to 28 U.S.C. §1782 for use in

a proceeding in a foreign or international tribunal, notice to the
parties before the foreign or international tribunal must be

 

7 See also In re Angli`n, No. 7:09CV50117 2009 WL 4739481, at *l (D. Neb. Dec. 4, 2009) (seeking
depositions of three employees); In re Letz‘ers Rogatoryji'oni Tolcyo Dist. Prosecutor’s Ojj?ce, Tokyo, Japcin, 16 F.3d
1016, 1019 (9th Cir. 1994) (concerning the use of witness statements in a criminal action in Tokyo and noting that
“the original district court order . . . failed to specify the procedures or practices to be followed”).

The other cases cited by Lignel purporting to permit sanctions in the event of notice violations are entirely
inapposite None of these cases concern the notice requirements under 28 U.S.C. § 1782. Further, Matter of
Weinberg, 132 A.D.2d 190 (lst Dep’t 1987), which Lignel raised to the Court in his Motion to Vacate and at the
hearing thereon, is entirely factually dissimilar and, as result, completely irrelevant to the issues at hand. ln Matter
of Weinberg, the court awarded sanctions based on violations of the C.P.L.R. because the attorney issued a subpoena
aimed at obtaining privileged documents and based on a false representation to the subpoenaed party. No notice was
given to any party and the law firm then used the privileged documents, “to which no law but only its deceit entitled
it,” to blindside a witness and then refused to produce to adversaries Matter of Wez`nberg, 132 A.D.2d at 192.

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provided except where the requesting party shows cause why
notice could not be given.

(emphasis added). The lllinois Rule demonstrates both that (i) Section 1782 is silent as to notice
procedure in foreign litigation and (ii) to the extent notice should be required, it is for depositions
and testimony, not document subpoenas The lllinois Rule also reinforces the propriety of
Dessaint and SCH’s conduct given the absence of any similar guidance or rule in this Court.

Furthermore, the interpretation of the statute urged by Lignel is problematic in light of
the wide applicability of 28 U.S.C. § 1782 to various types of proceedings - not just litigations ~
around the world. See, e.g., Advanced Mz`cro Devices, Inc. v. Intel Corp., 292 F.3d 664, 665 (9th
Cir. 2002), aff’cl, 542 U.S. 241 (2004) (holding that, although preliminary, proceeding before the
Directorate General-Competition of the European Commission concerning alleged treaty
violations was, at a minimum, one leading to quasi-judicial proceedings sufficient to permit
discovery under Section 1782); In re Application ofClzevron Corp., 709 F. Supp. 2d 283, 291
(S.D.N.Y. 2010), ajj”’cl sub nom Chevron Corp. v. Berlinger, 629 F.3d 297 (2d Cir. 2011)
(national arbitral bodies operating under UNCITRAL rules constitute “foreign tribunals” for
purposes of Section 1782); In re Letter ofRequestfor Jndz'cz'al Assistance from Trz`l)unal Civil cle
Port-au-Prince, Republz'c of Haz'tz`, 669 F. Supp. 403, 406 (S.D. Fla. 1987) (judicial assistance
extends to proceedings before foreign administrative and quasi-judicial tribunals and
investigating magistrates).

Given the wide applicability of the statute to foreign jurisdictions and proceedings that do
not utilize American-style discovery and/or may not involve traditional adversaries in a typical
Ainerican bilateral litigation, it would be untenable to read a blanket notice requirement into the
statute, as notice “to parties” simply may not be possible for many categories of applications

under the statute.

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After full disclosure to this Court of the relevant decisions in the French Estate Litigation
and in light of: (i) the terms of the OTSC and the l\/larch 26 Order governing the issuance of the
subpoena, neither of which required notice to Lignel; (ii) the notice Dessaint provided to
Christie’s (where many 1782 applications are in fact filed and granted ex parte)g; (iii) Lignel’s
lack of standing to object to the subpoena (see infra Section V); (iv) the language of the statute,
which does not require notice and provides only that the Federal Rules of Civil Procedure apply
with respect to production of documents; and (v) the Court’s approval of the tight production
deadlines Dessaint justifiably did not believe he was obligated to provide notice to Lignel.
Further, because Section 1782 does not require Dessaint to have noticed Lignel, at a minimum,
Dessaint and SCH had reasonably interpreted the statute and, in any event, it is clear that
Dessaint and SCH acted in good faith and without a shred of the bad faith necessary to
substantiate a sanctions motion. See Collz`ron, 2009 WL 874043, at *1 (“Sanctions under Rule 11
are inappropriate when there are different interpretations of the law or when contrary controlling
authority is not obvious.”) (internal quotations omitted).

III. Lignel Misrepresents The 2013 Expert Decision, Which Did Not
Bar Dessaint From Seeking Discovery In the United States

A. The 2013 Expert Decision Was Limited In Scope And Had No
Bearing On Dessaint’s Abilitv To Gather Evidence For His Case

Lignel’s argument that Dessaint’s 1782 Application and the March 26 Order
“[c1ircumvented the Paris Court” and supposed “Paris Couit’s [s1pecific [l1imits on the
[d]iscovery that [c]ould [b]e [s]ought from Christie’s” (Lignel Br. at 9) is premised on a

fundamental misinterpretation of the 2013 Expert Decision. lndeed, in his second attempt to

 

8 See, e.g., In re Ex Parle Motorola Mobi'll`ty, LLC, No. C 12-80243 EJD (PSG), 2012 WL 4936609, at *2
(N.D. Cal. Oct. 17, 2012) (explaining that “[i]t is common for requests to obtain an order pursuant to Section 1782
to be conducted ex parte”); ]n re Braga, 272 F.R.D. 621, 625 (S.D. Fla. 2011) (“most § 1782 applications . . . are
filed and decided ex parle”).

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seek relief from this Court, Lignel still cites to no French law or French legal authority to
justify his argument He relies only on a declaration from his U.S. attorney. Further, Lignel’s
contention that Dessaint’s 1782 Application represents a corrosive subversion of the evidentiary
limitations imposed by the Paris Court is belied by the fact that the Paris enforcement judge has
already extensively reviewed and relied on the Christie’s Documents, knowing full well how
they were obtained in the U.S. (2014 Buge Decl. 11 21, citing Decision of Juge de l ’Execuzion,
dated l\/Iay 24, 2013.) Furthennore, Lignel has already made an unsuccessful motion before a
pre-trial court in France to have this evidence excluded. (2014 Buge Decl. 11 40 and Ex. E.)

B. Dessaint Fullv Disclosed The 2013 Expert Decision To This Court

Lignel’s accusations of misrepresentation to this Court and/or malfeasance are entirely
baseless As described above, a full translation of the 2013 Expert Decision was included with
Dessaint’s 1782 Application for the Court to review. (Dessaint’s Memorandum of Law in
Support of the 1782 Application, Docket No. 8-4, at 4; 2013 Buge Decl., Ex. E.) Moreover,
Lignel’s accusations of misrepresentation rest, bizarrely, on little more than an opinion of
Dessaint’s French counsel that the Expert Appraisers were unlikely to commence a Section 1782
proceeding in light of the fact that their funding was controlled by Lignel himself ~ an opinion
that has been validated by the Expert Appraisers’ extended inaction. lndeed, the Expert
Appraisers did nothing until December 24, 2013 - almost one year after the Paris Court
compelled Lignel to pay their appraisal fees and but a few weeks before the close of the merits
case in France. (2014 Buge Decl. 1111 19, 42-43.) When the Expert Appraisers did finally act on
December 24, 2013, they merely wrote a letter to Christie’s, politely requesting documents (Icl.

1111 19, 42.) They did not seek discovery through the Hague Convention or any international

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channels, and they did not initiate any discovery proceeding in the U.S. 9

lV. Lignel’s Sanctions Motion ls Procedurally Barred

ln addition to the substantive failures of Lignel’s Sanctions l\/lotion, as described above,
the motion is also barred by several procedural defects

First, Lignel fails to explain his standing to move for sanctions “[A]s a general rule only
parties to an action and ceitain other participants have standing to move for rule 1 1 sanctions.”
]n re 72ncl St. Really Associates, 185 B.R. 460, 473 (Bankr. S.D.N.Y. 1995) (internal quotations
omitted); see also N. Y. News, Inc. v. Kheel, 972 F.2d 482, 489 (2d Cir. 1992) (“non-party and
non-participant lacked standing to seek Rule 11 sanctions”). Here, while Lignel does not invoke
Rule 11, it is unclear why this general rule would be relaxed for sanctions under the Court’s
inherent authority. Cf. N.Y. News, 972 F.2d at 489 (finding no standing to “complain of the
district court’s failure to impose Rule 11 sanctions on its own initiative”); Seon Michael Edwarcls
Desz`gn, Inc. v. Pyramz'cl Designs, No. 98 Civ. 3700(BSJ), 1999 WL 1018072, at *1 (S.D.N.Y.
Nov. 9, 1999) (“Because Rule 11 does not create an independent cause of action . . . non-
party[’s] motion seeking Rule 11 sanctions . . . is dismissed.”). Here, Lignel is not a party to this
action, and he has not made ~ nor could he make - any effort to intervene either as of right or by
permission See Fed. R. Civ. P. 24 (requiring, inter alia, a timely motion). lndeed, his contrived

interest in deterrence (see Lignel Br, at 1) is not a sufficient basis to intervene See N. Y. News,

 

9 Further, contrary to Lignel’s argument, even if Dessaint’s 1782 Application had been an effort to

circumvent French discovery limitations (whicli it was not), such an effort is not the sine qua non barring discovery
under Seetion 1782, lndeed, In re Microsofl Corp., 428 F. Supp. 2d 188 (S.D.N,Y. 2006), cited by Lignel in his
Sanctions Motion, confirms that, “[o]nce the statutory requirements are met, a district court is free to grant discovery
in its discretion” under the statute. Icl. at 192 (internal quotations omitted). Accordingly, the four factors set forth in
Intel Corp. v. Advancecl Micro Devz`ces, Inc, are discretionary and to be weighed as deemed appropriate by the
district court. 542 U.S. 241, 260-62 (2004); see, e.g., Giishlalc v. Gushlak, 486 F. App’x 215, 218 (2d Cir. 2012)
(exercising discretion and weighing factors); ]n re Appli`cozi‘on ofGemeinshcq}€‘spraxis Dr. Mecl. Schoz‘tclorf, No.
Civ.M19-88 (BSJ), 2006 WL 3844464, at *5 n.13 (S.D.N.Y. Dec. 29, 2006) (granting application for discovery and
explaining that the ]ntel factors “should be weighed on a case-by-case basis”).

Similarly, French case law affords great flexibility when it comes to proof. (2014 Buge Decl. 11 35.)

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972 F.2d at 486 (proposed intervenor’s “remote interest in a streamlined, abuse-free judicial
system is not a significantly protectable interest within the meaning of [Fed. R. Civ. P.]
24(a)(2)”) (internal quotations omitted).

Second, the Sanctions Motion is, at its core, a motion for reargument or reconsideration,
which should have been brought pursuant to this Court’s Local Rule 6.3. lndeed, though the
original l\/lotion to Vacate and the Sanctions Motion purport to seek different relief (vacatur and
sanctions, respectively), in reality, both motions seek the same remedy of deterring potential (and
purported) abuses of the Section 1782 statute and providing an advisory opinion to the Paris
Court. (Compare Jan. 10 Tr. at 9:17-25 (confirming that Motion to Vacate will be used in
France to demonstrate “what the law is”), 28:20-24 (clarifying that Motion to Vacate was
designed to deter future conduct) with Lignel Br. at 1 (seeking sanction “to deter further such
conduct”). See also Jan. 17 Order at 9 (addressing Lignel’s argument that granting the l\/lotion to
Vacate was necessary to avoid “rampant violations of due process and the Federal Rulcs of Civil
Procedure”). 10 In a motion to reconsider, Lignel must demonstrate controlling law or factual
matters put before the Court in its decision on the underlying matter that the Court overlooked
and that might reasonably be expected to alter the conclusion reached by the Court. Anwar v.
Fairftelcl Greenwt'ch Ltd., 800 F. Supp. 2d 571, 573 (S.D.N.Y. 2011). Lignel fails to do so, and
so his Sanctions Motion must be rejected

Furthermore, given that Dessaint does not seek further discovery from Christie’s, and
represented as much to this Court in the hearing before Judge Sullivan (see Jan. 10 Tr. at 24:12-

16), deterrence is pretextual

 

10 Lignel apparently believes the Federal Rules of Civil Procedure are not binding on him. As described

above, in addition to failing to mention Local Rule 6.3 here, he also failed to address Fed. R. Civ. P. 60 in bringing
his original Motion to Vacate. (Jan. 10 Tr. at 10:14-11:11).

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The Sanctions l\/lotion should likewise be denied because it effectively seeks reargument
or rehearing of the l\/lotion to Vacate, and it was untimely filed, past the l4-day deadline to seek
reargument or reconsideration (See Jan. 17 Order and Sanctions l\/lotion, dated February 4,
2014, Docket No. 24.) Finally, requesting reargument is improper because Lignel has already
appealed the January 17 Order, in what is his third attempt to punish Dessaint for revealing his
fraud to the French Court. (See Docket No. 23.)

V. Lignel Was Not Preiudiced BV The Lack Of Notice

Lignel’s serial applications to this Court represent his frustration at the revelation of his
massive fraud. But, although the disclosures were damaging to his case in France, he could not
have prevented them by moving to quash. His assertions to the contrary (Lignel Br. at 10) are
wholly meritless because Lignel would have been unsuccessful in a motion to quash the
subpoena for at least the following reasons

First, “[a] party lacks standing to challenge, on grounds of relevance or burden, a
subpoena served on a non-party.” US Bank Nat’l Ass ’n v. PHL Variable Ins. Co., N0. 12 Civ.
6811 (CM) (JCF), 2012 WL 5395249, at *2 (S.D.N.Y. Nov. 5, 2012) (oz`ting Estate ofUngar v,
Palesti'nt`an Auth., 332 F. App’x 643, 645 (2d Cir. 2009)); GMA Accessort`es, ]nc. v. Elec.
Wona’erlana’, Inc., No. 07 Civ. 3219 PKC DF, 2012 WL 1933558, at *4 (S.D.N.Y. May 22,
2012) (same). Accordingly, this Court would have been required to ignore Lignel’s complaints
about the scope of the subpoena served on Christie’s. lndeed, Christie’s is a sophisticated
corporate entity and was capable of addressing any such concems.

As a matter of law, the only party with standing to make an objection on the basis of
burden or scope was Christie’s. Here, the subpoena was sufficiently tailored to elicit highly
relevant information, including but not limited to, the identity of the seller of the Eight Paintings,

and other documents probative of the valuation of the Lignel Estate and Dessaint’s stake in the

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Delaroche Estate. (2013 Buge Decl. 11 20.) The Christie’s Docuinents are, in fact, crucial to
proving that Lignel sold the paintings at the Christie’s auction under an assumed identity, for
many times the price that he “received” from the sale to Hasegawa. (2013 Buge Decl. 1111 10-1 1,
21 .) At the hearing on the l\/lotion to Vacate, it was made clear that, had he received notice,
Lignel’s only objection would have been overbreadth:

THE COURT: lf you had had notice, what would you have argued
to Judge Wood?

l\/lR. CAHlLL: We would have argued that under lntel and under
basic principles, a subpoena that seeks all documents --

THE COURT: Overbreadth you would have argued.
(Jan. 10 Tr. at 29:9-13.)

Second, “1i1n the absence of a claim of privilege, a party usually does not have standing
to object to a subpoena directed to a non-party witness.” Ft'rst Ina’em. ofAtn. Ins. Co. v. Sht`nas,
No. 03 Civ.6634(K1\/1W)(KNF), 2005 WL 3535069, at *3 (S.D.N.Y. Dec. 23, 2005) (internal
quotations omitted); see also 9A Charles Alan Wright & Arthur R. Miller, Federal Practice and
Procedure § 2459 (3d ed.) (same). Here, Lignel has asserted no privilege with respect to the
documents produced by Christie’s, and thus he would not have been permitted to quash the
subpoena While Lignel might have attempted to assert a “personal ri ght” to the information
disclosed, that, without more, does not confer standing - particularly, where, as here, the
subpoena to Christie’s requested documents related to the sale of the Eight Paintings and

communications and valuations relating thereto.ll See, e.g., Laethem Equt`p. Co. v. Deere & Co.,

 

ll Courts interpret a narrow “personal right” to refer to information concerning “personal financial affairs” or

commercially sensitive information See, e.g., Sz`erra Rttti`le Ltcl. v, Katz, No. 90 Civ. 4913(JFK), 1994 WL 185751,
at *2-*3 (S.D.N.Y. May 11, 1994). Lignel complains that Christie’s produced “highly confidential documents.”
(Lignel Br. at 9.) However, sales and purchase and “information listing Lignel’s addresses in New York and Paris,
Lignel’s attorney, other associates of Lignel, and his email address” (see Lignel Memoranduni of Law in Support of
Motion to Vacate, Docket No. 15, at 9) cannot constitute a protectable personal right. C.f, U.S. v. Miller, 425 U.S.
435, 442 (1976) (finding no expectation of privacy with respect to “financial statements and deposit slips,” which

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No. 05-CV-101l3-BC, 2007 WL 2873981, at *17 (E.D. l\/lich. Sept. 24, 2007) (denying motion
to quash subpoena on third party and rejecting c‘assertion of a personal right or privilege” where
“defendant has not offered an example [about] the type of information 1defendant1 [wa1s
concerned about protecting . . . along with a justification of the personal right or privilege
[defendant] ha[d] in that document”). Other than the disclosure of his fraud, Lignel has not
offered any explanation why disclosure of the documents jeopardized any personal rights
Third, though Lignel complains about the disclosure of purportedly confidential
information, this without more, would not have prevented Christie’s from producing its
documents in light of (i) the critical nature of the evidence, (ii) the fact that it potentially
exposes a massive fraud under French law, and (iii) the unavailability of the evidence from other
sources See, e.g., Bttrka v. N.Y. City Transit Attth., 110 F.R.D. 660, 666-67 (S.D.N.Y. 1986)
(ordering disclosure of confidential personnel files “critical” to plaintiff’ s case.); Conopco, Inc.
v. Wez`n, N0. 05 Civ. 09899RJHTHK, 2007 WL 2119507, at *2 (S.D.N.Y. luly 23, 2007)
(denying motion to quash, notwithstanding “ privacy interest in . . . personal financial affairs,”
because confidential information was “relevant to the claim or defense of any party”); Snz'a’er v.
Lugli`, CV 10-4026 JFB AKT, 2011 WL 5401860, at *3 (E.D.N.Y. Nov. 4, 2011) (“even the
confidentiality of personal financial matters must yield to the Federal Rules of Civil Procedure,
which govern the discovery of information relevant to the claims and defenses in a federal court
action”) (internal quotations omitted); In re Applz`catz'on of D VLP LLC, No. 810-cv~1272-T-

33TBl\/1, 2010 WL 3781567, at *2 (M.D. Fla. Sept. 23, 2010) (denying motion to quash

 

“contain only information voluntarily conveyed to the banks and exposed to their employees in the ordinary course
of business”); Corsai`r S[)ecz`al Sz'tttations Fttnd, L.P. v. Engz`neerecl Ft'anting Sys., Inc., No. 09-1201-PWG, 2011 WL
3651821, at *2 (D. l\/ld. Aug. 17, 2011) (finding no personal right in telephone bills invoices and records). Even if
such information did implicate some privacy right, standing to challenge the disclosure of such information would
not preclude disclosure here. See Sz'erra Rttti'le Ltd., 1994 WL 185751, at *3 (denying motion to quash where “some
privacy interests [we]re at stake”).

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subpoena issued pursuant to 28 U.S.C. § 1782 where the discovery sought was “based on

fraudulent conduct, theft, and kickbacks”).

CONCLUSION

F or all the foregoing reasons Lignel’s Sanctions Motion should be denied. Further,

Dessaint and SCH respectfully request that the Court give serious consideration to whether the

plainly frivolous Sanctions Motion warrants the imposition of sanctions on Lignel and his

counsel

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